         Case 1:21-cv-00119-RDM Document 85 Filed 06/17/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



  CENTER FOR BIOLOGICAL
  DIVERSITY, et al.,

          Plaintiffs,                               CASE NO. 1:21-cv-00119 (RDM)

          v.

  U.S. ENVIRONMENTAL
  PROTECTION AGENCY, et al.,

          Defendants.



           PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF TIME

       Plaintiffs, by and through undersigned counsel, respectfully move the Court for a one-

week extension of the June 23, 2022, deadline to file their consolidated reply to the responses to

Plaintiffs’ supplemental briefing on redressability as to Claim 8. Min. Entry (Apr. 19, 2022);

Dkt. 78, 82, 83, 84. Plaintiffs seek a brief extension to June 30, 2022, in light of a series of

health-related challenges faced by different attorneys working on this matter. This includes a

recent illness, an imminent medical leave, and lead counsel’s need to isolate and care for her

unvaccinated preschooler since her spouse contracted COVID-19 and the child has been

excluded from summer camp because of the exposure. Plaintiffs’ counsel has conferred with

counsel for the Federal Defendants and for Florida who advise that they consent to the relief

requested. As the Court has scheduled a hearing on this matter for July 22, 2022, Plaintiffs

submit that the requested extension would not delay the proceeding. Plaintiffs therefore

respectfully request that the motion be granted.
        Case 1:21-cv-00119-RDM Document 85 Filed 06/17/22 Page 2 of 3




Dated: June 17, 2022

                                         Respectfully submitted,


                                         /s/ Tania Galloni
                                         TANIA GALLONI*
                                         Fla. Bar No. 619221
                                         CHRISTINA I. REICHERT*
                                         Fla. Bar No. 0114257
                                         Earthjustice
                                         4500 Biscayne Blvd., Ste 201
                                         Miami, FL 33137
                                         T: 305-440-5432
                                         F: 850-681-0020
                                         tgalloni@earthjustice.org
                                         creichert@earthjustice.org

                                         /s/ Bonnie Malloy
                                         BONNIE MALLOY*
                                         Fla. Bar No. 86109
                                         Earthjustice
                                         111 S. Martin Luther King Jr. Blvd
                                         Tallahassee, FL 32301
                                         T: 850-681-0031
                                         F: 850-681-0020
                                         bmalloy@earthjustice.org

                                         /s/ Anna Sewell
                                         ANNA SEWELL
                                         D.C. Bar No. 241861
                                         Earthjustice
                                         1001 G St., Ste 1000
                                         Washington, DC 20001
                                         T: 202-667-4500
                                         asewell@earthjustice.org

                                         Counsel for Plaintiffs

                                         * Appearing pro hac vice
        Case 1:21-cv-00119-RDM Document 85 Filed 06/17/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

      I hereby certify that on this 17th day of June 2022, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



                                                    Respectfully submitted,

                                                    /s/ Tania Galloni
                                                    TANIA GALLONI
                                                    Fla. Bar No. 619221
                                                    Earthjustice
                                                    4500 Biscayne Blvd., Ste 201
                                                    Miami, FL 33137
                                                    T: 305-440-5432
                                                    F: 850-681-0020
                                                    tgalloni@earthjustice.org
